Case 3:24-cv-00040-ZNQ-TJB           Document 122        Filed 11/04/24     Page 1 of 12 PageID:
                                           5648



                                       Mary Basile Logan
                                        27 Cherry Street
                                   Lebanon, New Jersey 08833
                                   Email: Trino@trinops.com

 November 1, 2024

 Sent Via Email Recipient Confirmation               Sent Via Email – Recipient Confirmation
 Hon. Zahid N. Quraishi                              The Honorable Michael Johnson
 United States District Court                        Speaker of the House
 District of New Jersey                              568 Cannon House Office Bldg.
 Clarkson S. Fisher Building                         Washington, DC 20515
 402 East State Street, Courtroom 4W
 Trenton, New Jersey 08608

        RE:     LOGAN v. GARLAND, et al.
                Index No. 3:24-cv-00040 (ZNQ TJB)

 Dear Judge Quraishi:


          I am the Plaintiff in the above-entitled action, Pro-Se. On October 30, 2024, sent by ECF this
 letter of the highest concern for national security and the utmost integrity to the Federally Protected
 Election Infrastructure. On September 24, 2024 October 7, 2024, October 24, 2024, October 28, 2024
 before the Honorable Court through the represented pleading, the Court will hear Plaintiff’s plea of
 Injunctive Relief with Permanent Restraining Order. Plaintiff seeks final entry of this communication
 for the Honorable Court’s emergent consideration in that regard.

        Plaintiff has now confirmed through appreciative open-sourced findings that MERRICK
 GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS
 MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.
 CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES
 COMEY, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE
 W. BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER,
 JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE
 NORCROSS, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM
 SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD
 ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON,
 OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, the DEMOCRATIC NATIONAL
 COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE, DEBBIE WASSERMAN
 SCHULTZ; JAMES PITTINGER, LISA SELLA; CHRISTOPHER J. CHRISTIE, PHILIP D.
 MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN and
 ROBERT JUNGE, hereinafter referred to as “inclusive Defendants”. Plaintiff has made application to
 the Honorable Court to add LISA MONACO, MICROSOFT, BILL GATES, WARREN BUFFETT,
 MIKE PENCE, CRESCENT CAPITAL, KAMALA HARRIS, MITT ROMNEY, HARVARD
 ENDOWMENT, JEREMY B. BASH, DICK DURBIN, GAVIN NEWSOM, GRANT VERSTANDIG,
 GRETCHEN WHITMER, co-colluders who overtly labored collectively to exact a predetermined
 1
Case 3:24-cv-00040-ZNQ-TJB            Document 122         Filed 11/04/24      Page 2 of 12 PageID:
                                            5649



 outcome at the expense of Plaintiffs’ sovereign Rights as set forth below, inclusive of harms as stated
 in the Injunctive Motion. Plaintiff hereby seeks consent of the Honorable Court to add the following
 parties as Defendants in this matter, in no particular order; AstraZeneca; the United Arab Emirates in
 the capacity of Mubadala and G42; Pakistan; Canada; Great Britain/the United Kingdom; India;
 Ireland; the United Nations; Vivek Ramaswamy; Peter Thiel; JD Vance; Usha Vance; Elon Musk;
 Jaime Raskin; Sarah Bloom Raskin; the National Institutes of Health; the National Institute of Allergy
 and Infectious Diseases; the Centers for Disease Control; Open Society – George Soros; and Jane Doe
 and John Doe.

         As previously provided, Plaintiff’s research has continued, the findings have now affirmed
 origin, venue and fiscal conduits of the blatant fraud, espionage and treasonous actions, knowingly
 conducted by the herein named parties. The subject deceitfully crafted of fraud, remaining pervasive,
 throughout the 3-Branches of these United States, conducted by willing, co-colluding partners who,
 together with the named Defendants, amass a criminal syndicate far exceeding that of organized crime
 as the subject parties unlawfully hold Constitutional authority which they have wielded, leveraged and
 weaponized to manifest a coup of these United States.

         Of even date, Plaintiff has filed a Motion for alternative service of process, citing the
 communication of October 2, 2024, reflecting in the Honorable Court repository as ECF Doc. 118,
 Plaintiff did not received benefit of reply as to the request of final extension. Plaintiff has continued
 her attempt of service, receiving a telephone call from the Secret Service as regards service to Janet
 Yellen, Treasury Secretary. The balance of service attempts provided in the Motion under separate
 cover.

         Plaintiff received an Affidavit from Military Veteran, same attached as EXHIBIT 1, notarized.
 Plaintiff affirms by the Affiant’s own words, having served this fine Nation, sacrificing of his time and
 risk to his life to ensure retention be upheld, inclusive of the Cardinal Moral Truths, Plaintiff is
 obligated by God to enter this final plea, the demand of voice before the Honorable Court.

        Respecting the complex nature of the criminal syndicate conduct, well reflected in the
 Honorable Court repository, Plaintiff will attempt to be as succinct in this communication as is
 possible, thus ensuring that the Honorable Court has a comprehensive understanding of the magnitude
 of imminent danger to the candidate, DONALD J. TRUMP, as well the precarious cliff by which these
 United States dangles at this very moment.

         The Plaintiff restates all claims as presented in the inclusive ECF repository noted in the
 Certification which follows this communication. Plaintiff refers to ECF Doc. 45, Amended
 Complaint, P75(g), “Plaintiff states that the history involving the Troubled Asset Relief Program
 (“TARP”) was weaponized as leverage, in many cases, to maintain the structured undercurrent
 modeled after BCCI, the Defendants dually affixed to same.”

 Reserve Trust Company, Federal Regulation manipulation and Banking and Insurance Fraud.

 Each party referenced below knowingly averted registration under the Alien Registration Law, 8
 U.S.C.A §451 et seq., 18 U.S.C.A. §9 et seq. each being a member and sympathizer associated with
 BCCI, operating under Project Destiny, holding allegiances to the United Arab Emirates, Pakistan and

 2
Case 3:24-cv-00040-ZNQ-TJB            Document 122        Filed 11/04/24      Page 3 of 12 PageID:
                                            5650



 other foreign nation-states, rendered each and every inclusive Defendant, subversives, enemy
 combatants.

 Plaintiff states that unlawful actions taken by the individuals, each holding foreign allegiance,
 unregistered within the United States, followed the BCCI mapping structure, each coordinating with
 the other, apart from transparency, intent of subverting these United States from within.

     1. Plaintiff states that Defendant WILLIAM J. CLINTON unlawfully held Executive capacity of
        these United States by fraud and trickery. Through the appointment of Eugene Ludwig to
        Comptroller of the Currency, serving 1993 – 1998, the Defendant leveraged the Executive
        Branch to the benefit of foreign nation-states including the United Arab Emirates, Pakistan and
        others. Simultaneously, the Defendant knowingly withheld HILLARY R. CLINTON’s actions
        working cohesively with undisclosed foreign persons, in the transaction of uranium, facts and
        events which the Defendant financially benefited from both personally, as well through the
        Clinton Foundation. Plaintiff states that the Defendant leveraged the appointments within his
        Administration, including but not limited to Ludwig, for the benefit of external entities, banks
        and individuals, creating untenable circumstances that skirted the Rule of Law, the
        Constitution and National Security. These actions were taken with the sole intent to subvert,
        undermine and foster the collapse of the United States.

     2. The Defendant and Eugene Ludwig were personally acquainted, having attended law school
        together. Plaintiff states that the appointment was a continuum of the fraud and trickery
        associated with the BCCI, Project Destiny broadly applied mapping of individuals
        surreptitiously placed to exact strategic actions on behalf of the overarching foreign entities,
        wholly apart and opposing the interests of these United States. While in his federal
        appointment, the internal policy benchmarks and guardrails within the comptroller’s
        department so as to create trap doors for external exploitation aiding the abetting foreign
        parties to the detriment of these United States.

     3.   Plaintiff states the internal changes including the Community Reinvestment Act
          (“CRA”), alleged to make examination more consistent, clarify performance standards,
          and reduce cost and compliance burden. Ultimately, these programs proved beneficial
          not to the communities themselves, but rather for foreign investors in the long-run. The
          reason being is the undisclosed forecast of the TARP failure, the foreign occupiers within
          the Federal, State and County-levels of government were toiling as one cohesive body.
          The loans taken by well-intended entrepreneurs, over-leveraged themselves having no
          knowledge of the undisclosed forecast, believing that the market would continue to grow.

     4.   Duality of regulations based on race, creed and gender-based regulations and Fannie
          Mae, Freddie Mac and government sponsored enterprise mortgaging changes in the
          company of sweeping regulation on affordable housing. The duality confuses the system
          intentionally, never resolving the origin issues that have been identified – that was the
          not the intent of design; where previously one set of rules applied to all and were easily
          assessed, audited and reported, duality layers the regulatory process allowing venue for

 3
Case 3:24-cv-00040-ZNQ-TJB             Document 122        Filed 11/04/24      Page 4 of 12 PageID:
                                             5651



          the syndicate to operate with opaqueness, ease of movement with the marketplace,
          government and venue to the NGO’s, community organizers, etc.

     5.   Immediately upon leaving his governmental position, Ludwig formed the Promontory
          Financial Group, est. 2001, 2-years advancing the economic downturn. Further
          evidencing Plaintiff’s claims specific to TARP but also more broadly regarding the
          foreign subversive actors within actually fabricating chaos while building out community
          organizer entities for which Promontory Financial Group was formed. In the aftermath of
          the subprime mortgage crisis, the very structure that Ludwig fostered, Promontory was
          one of several consulting firms selected by federal banking regulators to conduct reviews
          of loan foreclosures initiated by 16 mortgage servicing companies. Promontory reviewed
          the foreclosure activities of Bank of America, PNC Financial Services and Wells Fargo,
          encompassing more than 250,000 loan contracts. Promontory was paid $927 million,
          which led to strong criticism and doubt about the independence of the examination. A
          hearing was arranged by the U.S. Senate Banking Committee to assess whether regulators
          had handed off too much oversight authority to private consulting firms such as
          Promontory.

     6.   Plaintiff states that a significant number of affordable housing properties were lost in the
          TARP downturn, not recoverable because their purchased by foreign persons, knowingly
          orchestrated and a component of the economic espionage. Since TARP, a vast number of
          rental and mixed-use properties have been built across the United States, discouraging
          investment is the infrastructure of whole living in communities, many now are transient.
          The foregoing are all and inclusive forecasted events by the syndicate.

     7.   The same duality in regulation existed under the Ludwig model, introduced by the
          Executive Branch usurper, under “Act” with broad, sweeping regulation including that of
          the changes within Fannie/Freddie and GSE’s, see (4, above) were actually designed to
          self-destruct and fail by the foreign operatives within, the parties herein named. These
          changes were also designed to feed into the economic failure, benefiting foreign entities.
          The foregoing is evident in the merger/acquisition model which Bernanke fostered. The
          result of this is today see in the Federally Protected Election Infrastructure, with each of
          the contracted parties represented as domestic, but are foreign registered and foreign
          owned (See ECF Doc. 87). Thereafter, TARP provided and continues to provide venue
          for an endless stream of taxpayer funded fraud and abuse. Plaintiff attaches as EXHIBIT
          2, the transcript from the TARP/SIGTARP hearing of May 22, 2018 which personifies
          Plaintiff’s statement.




 4
Case 3:24-cv-00040-ZNQ-TJB            Document 122        Filed 11/04/24      Page 5 of 12 PageID:
                                            5652



     8. Plaintiff states that the Defendant, BARACK HUSSEIN OBAMA, a foreign person,
        unlawfully held Executive capacity of these United States by fraud and trickery. Plaintiff
        states that immediately upon taking office the Defendant drafted Executive Order 13490,
        alleged to restrict lobbying; benefited the wholly foreign appointees, nominees and co-
        conspirators, including NGO’s, community organizers, public private partnerships, etc. The
        facts provided that the E.O. 13490, was selectively adhered to and weaponized at time of
        convenience against opponents; however, it not curtail the external influences on the United
        States 3-Branches of Government, to the contrary, it fortified the internal, wholly foreign and
        unlawfully seated parties. Plaintiff states the foregoing was reinforced by the Defendants
        foreign co-colluder, Ben Bernanke, who alleged in 1989 that “quantitative analyses of bank
        records” would increase in sophistication and be readily accessible, and in lieu of lobbying
        entities, a broad body of non-profit, community groups were established. Each of the
        individuals worked in the subversion of the economic, financial and regulatory areas within
        the federal government from the moment they gained access, alleging “partnerships” to
        banking institutions and governmental bodies. Plaintiff states that the ACORN record
        evidences her claims, see ECF Doc. 46 which also cites the Center for Tech and Civic Life
        (“CTCL”), both entities built on the same model, both have highly controversial, detrimental
        impacts one in campaign finance and community organization resulting in Ch7 bankruptcy,
        ACORN; and the other irrevocably imposing on Plaintiff’s Civil Rights protected under the
        Cardinal Moral Truths, imposing on the Federally Protected Election Infrastructure and, as the
        Affidavit attached verified, marginalizing voters, actually disenfranchising them from
        participation, entirely.

     9. Through the Defendant’s unlawfully held capacity, he nominated Sarah Bloom Raskin
        (“Raskin”), Defendant JANET YELLEN (“YELLEN”) to the Federal Reserve Board of
        Governors, 2010. Plaintiff states that these nominations were a continuum of the fraud and
        trickery associated with the BCCI, Project Destiny broadly applied mapping of individuals
        surreptitiously placed to exact strategic actions on behalf of the overarching foreign entities,
        wholly apart and opposing the interests of these United States. Plaintiff states that the newly
        seating usurper of the Executive Branch, doubled down on the BCCI-Project Destiny model,
        the intent to expedite the failure of the United States.

     10. Plaintiff states that once these capacities were confirmed by the Senate, Raskin and YELLEN
         immediately took action to lower the fiscal benchmarks and guardrails within the Federal
         Reserve to foster opportunities for external parties to gain benefit while expanding regulation
         to fog the invisible moving, that being the BCCI structure. Plaintiff states these gains of
         benefit would not exist but for the known movement and actions of Raskin and YELLEN.

     11. .Plaintiff states that Sarah Bloom Raskin was the managing director at Promontory Financial
         Group from 2003-2007, holds to the same foreign affiliations set forth above. The role
         provides specific calculating insights advancing her governmental appointments commencing
         in 2010 - 2016. Understanding that Ludwig fabricated what gave rise to TARP, Raskin was
         mentored to step as TARP took place, to ensure that new regulation introduced at her direction,
         continuing the momentum of economic failure within the United States.



 5
Case 3:24-cv-00040-ZNQ-TJB            Document 122        Filed 11/04/24      Page 6 of 12 PageID:
                                            5653



     12. Plaintiff states that Sarah Bloom Raskin unlawfully gave aid to the wholly foreign entity,
         Reserve Trust Company with the intent to defraud using the SWIFT and Fedwire systems.

     13. Plaintiff states that the 1973 registration of Reserve Trust Company, irrefutable confirms that
         the BCCI mapping under Project Destiny is active, moving at rapid pace and that a broad
         number, if not nearly all persons within government are foreign aligned, holding no allegiance
         to the United States. The company was formed and never utilized, reserved in every sense,
         inclusive of name.

     14. Raskin confirmed the query in her testimony, under oath, that in May, 2017, she became a
         member of the Board of the Directors of the Reserve Trust Company, alleged to be a small
         COLORADO-chartered trust company founded in 2016. However, the Colorado registration
         is removed of record and all other Reserve Trust Company affiliates are foreign registered,
         referencing Colorado is the domestic pass through. Raskin sold 195,936 Reserve Trust shares
         for $7.50 per share in 2020, alleging to transact the funds to QED Investors.

     15. Plaintiff states that QED Investors follows the same BCCI shell structure, one domestic pass
         through and all other foreign holding registrations. The SEC record, for which Ms. Raskin
         would have every knowledge, is empty, there have been no filings made. See EXHIBIT “3”.
         Plaintiff states that Raskin has committed fraud and economic espionage, citing her
         formulation of the regulations for which she knowingly advantaged herself and her spouse.

     16. Plaintiff affirms that Ms. Hamm, who works with Ms. Raskin at Promontory Financial Group
         was a former regulatory officer with the SEC, having every knowledge of the facts Plaintiff
         discloses herein, including the corporate records.

     17. Facts provide that during Ms. Raskin’s tenure at Treasury, she participated in and among the
         DEMOCRATIC NATIONAL COMMITTEE, DEBBIE WASSERMAN SHULTZ, NANCY
         PELOSI and HILLARY R. CLINTON, as well the broader body of inclusive Defendants,
         providing carte blanche access to the Awan Brothers who transferred financial data and history,
         otherwise protected, belonging to the United States. Plaintiff states, that the Awan Brothers,
         aided by Judge Chutkan, averted Justice and the permeation of cybersecurity extortion has
         grown exponentially, including the recent actions involving UNITEDHEALTH GROUP,
         knowingly orchestrated by DarkMatters, a wholly owned entity of the Awan Brothers
         associates, the United Arab Emirates.

     18. Plaintiff states Ms. Raskin’s associates at the Reserve Trust, formerly underlings at Treasury,
         mentored by her, confirming the BCCI mapping verbatim. Plaintiff confirms direct
         association between David G. Cahill, Microsoft as his former employer and the broader
         mapping extending to include cybersecurity and the United Arab Emirates through G42, a
         secondary wholly owned UAE entity.

     19. Plaintiff states that through the foregoing mapping and exact footprint, Mr. Cahill previous
         work with Save the Children, East Africa attaches directly to the Gates Foundation.


 6
Case 3:24-cv-00040-ZNQ-TJB           Document 122        Filed 11/04/24      Page 7 of 12 PageID:
                                           5654



     20. Plaintiff states that the Gates Foundation had every knowledge of the Janssen adenovirus-
         based vector vaccine, through the EBOLA response East Africa, a simultaneous philanthropic
         endeavor by both organizations.

     21. Plaintiff states that the relationship between WARREN BUFFET, BILL GATES and USHA
         VANCE, Mrs. Vance’s law firm founder the Board Member on BUFFETT’s Berkshire
         Hathaway. The Gates Foundation also directly attaching to VIVEK RAMASWAMY. VIVEK
         purchased Emergent BioSolutions, the company who cross-contaminated the production line,
         knowingly, spoiling the Janssen product, the FDA removing its use from the marketplace, See
         ECF Doc. 45, ¶136.

     22. Plaintiff states the foregoing malicious actions, orient to fraud and economic espionage by
         foreign actions, the inclusive parties.

     23. Plaintiff states that the New Mexico Reserve Trust Company was formed in New Mexico
         citing the Department of Energy and the Carter Center, See ECF Doc. 120 which includes
         BCCI Investigative record for which Jimmy Carter was a direct participant, extending to
         include the formation of the Department of Energy. Plaintiff states that shortly formation of
         the Department, the Carlsbad, New Mexico Waste Isolation Plant. This site, is quite specific in
         that the waste refers specifically to the nasal swab manufactured during COVID19, the spent
         nuclear waste, the attempt to murder the people of the United States. To be clear, the
         DEMOCRAT NATIONAL COMMITTEE, JOSEPH R. BIDEN, KAMALA HARRIS, JAMIE
         RASKIN, HARVARD, MICROSOFT, VIVEK RAMASWAMY, JD VANCE, USHA VANCE,
         WARREN BUFFETT, and the whole of the inclusive Defendants.

     24. Plaintiff states that the UAE was working with the GATES FOUNDATION and STRIPE (Elon
         Musk and Peter Thiel, also associated with the FBI, JD Vance and Vivek Ramaswamy),
         launched the Global Technology company est. 2021 (Ireland, India, Canada, UAE, Malaysia
         and Germany). The knowing action involving COVID19, the nasal swab and the vaccines;
         nuclear waste touching the blood/brain barrier, repeatedly and graphene oxide thin film;
         crimes against humanity. UNITEDHEALTH GROUP, HARVARD and the GATES
         FOUNDATION – BILL GATES, WARREN BUFFETT, AstraZeneca, the UAE, Canada,
         Germany, Great Britain, India, Ireland, the United Nations, the DEMOCRATIC NATIONAL
         COMMITTEE, VIVEK RAMASWAMY, PETER THIEL, JD VANCE, USHA VANCE,
         ELON MUSK, JAIME RASKIN, the whole of the DEMOCRATIC Governors and many
         alleged Republicans, the FBI, CIA, NSA, CDC, NIH, DoD, NIAID, etc. At the same time, the
         UAE and China leveraged for themselves in the same manner as the GATES FOUNDATION,
         worked with AstraZeneca as well as STRIPE and all grant recipients through STRIPE, their
         attempt to develop an autonomous vaccine product, having eliminated the Janssen product,
         one-dose, non-mRNA.

     25. Plaintiff reached into the repository history of Uranium One, noting that Frank Giustra was
         from Canada. Between 2009 to 2013, Canadian records show, a flow of cash made its way to
         the Clinton Foundation. Uranium One’s chairman used his family foundation to make four
         donations totaling $2.35 million. Those contributions were not publicly disclosed by the
         Clintons, despite an agreement HILLARY R. CLINTON had struck with the BARACK
 7
Case 3:24-cv-00040-ZNQ-TJB            Document 122        Filed 11/04/24      Page 8 of 12 PageID:
                                            5655



        HUSSEIN OBAMA to publicly identify all donors; there was no accountability to this
        omission. Citing the unresolved Russian bribery document case, and the heightened National
        Security risks, these matters must find absolute resolve and measured accountability, Justice.
        The Clinton Foundation has been used as leverage since its inception, imposing on all manner
        of foreign diplomacy, and, today imposing in National Security and the Civil Rights of the
        Plaintiff. The Federal Reserve had access to the fiscal records through the St. Louis Fed
        Branch in Arkansas, to date, there has no disclosures.

     26. The Plaintiff states that during the same time period, Raskin, Yellen and Raskin’s Federal
         Research Board of Governors, her underlings at Promontory Financial Group at Treasury at
         the time. Ms. Raskin would have had every knowledge of the fiscal events associated with the
         St. Louis Federal Reserve Branch in Arkansas Despite her knowledge and the grave risk to
         National Security, first associated with the Awan Brothers and the second with Uranium One.
         Citing the fact that all of her Promontory Financial Group associates and she herself are
         cybersecurity experts, the foregoing facts remained unreported by Ms. Raskin.

     27. In a follow-up story six days later, The Times clarified that the donations went to "the Clinton
         Giustra Enterprise Partnership (Canada), [which] operates in parallel to a Clinton Foundation
         project called the Clinton Giustra Enterprise Partnership, which is expressly covered by an
         agreement Mrs. Clinton signed to make all donors public while she led the State Department.
         However, the foundation maintains that the Canadian partnership is not bound by that
         agreement and that under Canadian law contributors' names cannot be made public."

     28. In his May 5, 2015, book Clinton Cash, Breitbart News editor Peter Schweizer alleged that the
         Clinton Foundation received $145 million in pledges and donations in exchange for Hillary
         Clinton's support of the Uranium One deal. These figures are proving conservative based my
         analysis The FBI, and specifically, JAMES COMEY terminated the Uranium One
         investigation, a consistent action on the part of the heathens, confirming COMEY’s culpability.

     29. The Uranium One Uranium One owned uranium mining operations in the United States, the
         acquisition of Uranium One by Rosatom was reviewed by the Committee on Foreign
         Investment in the United States (CFIUS), a committee of nine government cabinet departments
         and agencies including the United States Department of State, which was then headed by
         Hillary Clinton. Clinton herself did not sit on CFIUS, but rather the State Department was
         represented by Jose Fernandez, the Assistant Secretary of State for Economic, Energy and
         Business Affairs, who stated that Clinton was not involved in the Uranium One matter.
         Although CFIUS members can object to such a foreign transaction, none did, and no member
         can veto a decision; veto power rests solely with the president. CFIUS unanimously approved
         the Uranium One sale; approved by the president and with permits issued by the Nuclear
         Regulatory Commission. The Utah Division of Radiation Control and Canada's foreign
         investment review agency also approved the transaction Simultaneously, there was outstanding
         investigation concerning Russian bribery plot which had been handled by Defendant ROD
         ROSENSTEIN; the case involved Uranium One sale of the national strategic asset for which
         the FBI had every knowledge. Under federal law, the committee reviews foreign investments
         that raise potential national security concerns which would have been disclosed to Raskin at
         the time of the event. Although CFIUS members can object to such a foreign transaction,

 8
Case 3:24-cv-00040-ZNQ-TJB            Document 122        Filed 11/04/24      Page 9 of 12 PageID:
                                            5656



        none did, and no member can veto a decision; veto power rests solely with the president,
        noting that CFIUS is Chaired by the Treasury Secretary, Timothy Geithner (2009-2013).
        CFIUS unanimously approved the Uranium One sale. The Utah Division of Radiation Control
        and Canada's foreign investment review agency also approved the transaction.

     30. Plaintiff states that as a consequence to the foreign interlopers, unlawfully holding siege by
         capacity within all 3-Branches of government, a clear and present danger looms. With each
         federal investigation compromised, regardless of the potential of grave impact or human
         tragedy, this, in combination with the escalating rise in criminality demanded this
         communication be sent. Today, Iran, North Korea and others are within reach of nuclear
         armament, long-range viability no longer a threat. This threat was removed by the former
         Secretary of State, of the UNITED STATES, the Defendant, HILLARY R. CLINTON and the
         inclusive Defendants having every knowledge have stood down, dismissing Justice and for
         which CFIUS consented, without objection. The foregoing is made an imminent threat citing
         the funds paid first by Defendants, BARACK HUSSEIN OBAMA, JOSEPH R. BIDEN, and
         KAMALA HARRIS, the latter providing monthly stipends through the State Department
         absent public disclosure. Our military were made vulnerable by mandates of vaccination,
         many leaving the same of our law enforcement. The funds have exacted a statement to
         enemies of the United States and foreign adversaries who might seek political alignment; that
         message, whether spoken or not resonates loudly – the American People are without leadership
         and those that are in place are as much our enemies as those residing on foreign soil.

     31. There is a pending federal election for which Plaintiff has sought intervention, citing the
         completely compromised mechanical/electronic federally protected election infrastructure,
         heightened matters of National Security and the imminent and ongoing threat against the
         federal candidate, Donald J. Trump.

     32. Plaintiff states that all and inclusive national security related events, including the
         assassinations of John F. Kennedy; Robert F. Kennedy’ Martin L. King, Jr., Abraham Lincoln,
         William McKinley; Shinzo Abe – Japan, former Prime Minister; the attempted assassinations
         of Ronald Reagan; Donald J. Trump; Vietnam; Pearl Harbor; Watergate; TARP, 9/11,
         Oklahoma City bombing, Boston, mass shootings including Columbine; WWI, WWII, the
         vast number Middle East conflicts, including Operation Iraqi Freedom, Desert Storm, the USS
         Cole, the USS Liberty. The foregoing, a grossly incomplete list; however the foreign
         infiltrations, factions and evil intent – the worst of all human depravity, they are completely
         masked but for their decisions, yet have no remorse for actions taken.

     33. Plaintiff states as a matter of record, DONALD JOHN TRUMP is unquestionably in danger,
         all investigations have been sidelined or sidestepped and yet, every investigation that seeks his
         confinement or monetary liquidation of his private funds, these have no issue finding venue.
         The inclusive Defendants available themselves of an adoring media body, the double standard
         disclosure allegiance. The broad body of inclusive Defendants and the media have colluded,
         knowingly seeking to influence and interfere in the federal election process, going so far as the
         executive contracts for service in the attempt to provide 2-degrees of separate from their
         heinous behavior. Meanwhile a human being’s life and his children are at risk – this is an
         unacceptable message that meets certain harm there being no accountability to stop it. The

 9
Case 3:24-cv-00040-ZNQ-TJB           Document 122        Filed 11/04/24      Page 10 of 12 PageID:
                                            5657



         insurance policies have been paid up by the foreign interlopers, the strawmen having proven
         their posture through business practices and history.

      34. Plaintiff reviewed the headings of the inclusive claims in the repository, including those
          herein, tracing back Nikola Tesla IP records and each of the individual weaponized claims
          levied against the federal candidate as well while lawfully seated as the Executive Branch
          Chief Executive and his Administration. The whole of the repository align with one heinous
          prophesy attaching to Albert Pike with a significant portion of the descriptive events having
          come to pass, there remains one event described which walks parallel with the Plaintiffs’
          forensically derived research - a global, cataclysmic nuclear war. Plaintiff makes no claim,
          the findings derived by process of elimination – the threat is quite real with Iran and North
          Korea orations, as well Hezbollah, Hamas and gang violence in our own communities. The
          foregoing confirms and parallels the Executive, Legislative and Judicial comprised within
          government, inclusive of timelines.

          Plaintiff demands of the Honorable Court’s time to intervene in this URGENT matter in the
      interest of all People of the United States, their safety and welfare. The absence of actionable
      investigative integrity to analyze the assassination attempt of Donald J. Trump has sent the same
      message to our enemies as those of the unlawfully seated foreign Defendants, BARACK
      HUSSEIN OBAMA, JOSEPH R. BIDEN and KAMALA HARRIS, that message is a damned lie.
      Every person residing in these United States deserves to live with the knowledge that a Court of
      Law as much the Rule of Law, stands as resolute as these United States. The outcome of the
      forthcoming election looming, uprising and unrest on the horizon with all sides gravely concerned
      but for one, the perpetrators – the foreign interlopers holding our Nation hostage.

         Plaintiff demands voice of the Honorable Court.




 10
Case 3:24-cv-00040-ZNQ-TJB           Document 122         Filed 11/04/24      Page 11 of 12 PageID:
                                            5658




                                     CERTIFICATION OF SERVICE

         I HEREBY CERTIFY that I filed today, Monday, November 4, 2024, at 5:23 p.m. in
 accordance with Federal Rule of Civil Procedure 11, the foregoing with the Federal Clerk of the Court
 for the United Stated District Court, District of New Jersey, via electronic filing, which will send
 notification of such filing to all parties registered for this case, including the Defendant’s counsel via
 the electronic filing system.
 11
Case 3:24-cv-00040-ZNQ-TJB          Document 122        Filed 11/04/24     Page 12 of 12 PageID:
                                           5659




        Plaintiff attests to each claim herein stated and reiterates the inclusive claims, inclusive of
 harms and remedy as set forth in the amended complaint and supplemental submissions with Exhibits
 so accompanying as set forth in ECF 45; 45-1; 45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10;
 45-11; 45-12; 45-13; 45-14; 45-15; 45-16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 56; 46;
 46-1; 46-2; 55; 55-1; 55-2; 55-3; 55-4; 55-5; 73; 73-1; 73-2; 73-3; 73-4; 73-5; 73-6; 73-7; 73-8; 105;
 104-1; 105; 106; 106-1; 106-2; 106-3; 106.4; 107; 108; 108-1; 108-2; 108;3; 108;4; 108-5; 108-6;
 108-7; 108-8; 116; 116-1; 117; 117-1; 118; 110; 119; 119-2; 119-3;119-3; 120; 120-1; and 121 in
 support of the certified statements of harm herein and in support of the Injunctive Motion with
 Permanent Restraining Order.


                                                             Respectfully submitted,

                                                             /s/Mary B. Logan______
                                                             Mary Basile Logan
                                                             Plaintiff (Pro Se)

 cc:    All Counsel of Record (Via ECF)
 EXHIBITS:
     1. PETITION OF THE PEOPLE OF THESE UNITED STATES and inclusive executed pages.
     2. BCCI Directory of Expatriate affiliates, dated 1986.




 12
